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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                   Plaintiffs,
      v.                                          Case No. 24-CV-3220 (DLF)
ROBERT F. KENNEDY JR., et al.,

                  Defendants.


BRISTOL MYERS SQUIBB COMPANY,

                   Plaintiff,
      v.                                          Case No. 24-CV-3337 (DLF)
ROBERT F. KENNEDY JR., et al.,

                  Defendants.


SANOFI-AVENTIS U.S. LLC,

                   Plaintiff,
      v.                                          Case No. 24-CV-3496 (DLF)
UNITED STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES, et al.,

                  Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

                   Plaintiff,
      v.                                          Case No. 25-CV-0117 (DLF)
ROBERT F. KENNEDY JR., et al.,

                  Defendants.


  PLAINTIFFS’ JOINT BRIEF IN OPPOSITION TO INTERVENOR-DEFENDANTS’
          CROSS-MOTION FOR SUMMARY JUDGMENT AND REPLY
                  IN SUPPORT OF SUMMARY JUDGMENT
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                                         INTRODUCTION

       This is a straightforward case of statutory interpretation about the methods Plaintiffs may

use to effectuate the 340B price. But there is nothing straightforward about Intervenors’ reading,

which bobs and weaves around the plain text to construct a new meaning that better suits Interve-

nors’ policy preferences.

       The 340B statute requires the Secretary of Health and Human Services (HHS) to “enter into

an agreement” with manufacturers—a Pharmaceutical Pricing Agreement (PPA)—that requires

manufacturers to drastically lower the prices of their medicines for certain healthcare providers

called covered entities. 42 U.S.C. § 256b(a)(1). The statute identifies two possible methods for

making these reduced prices available: an up-front “discount,” or a back-end “rebate.” Id. And

when the Secretary enters into PPAs with manufacturers, the statute allows him to “provide[ ]” for

a pricing methodology. No one—not Intervenors and not the Government—contends that Plain-

tiffs’ PPAs mandate the use of the prevailing-replenishment model or prohibit cash rebates. That

should end the analysis.

       Plaintiffs’ interpretation ensures every word in the 340B statute retains meaning. And

Plaintiffs’ statutorily authorized cash-rebate or cash-replenishment models address the rights and

obligations of both manufacturers and covered entities, and are consistent with program precedents

and standard business practices. Critically, Plaintiffs’ models also provide a mechanism for ad-

dressing both the longstanding program-integrity concerns that virtually every relevant government

watchdog has found to be commonplace and new statutory provisions for which the Government

has made no allowances. Intervenors’ position, by contrast, would not only leave the worst parts

of the status quo in place, but also enshrine it as law.

       Intervenors contend the statute’s phrase “any rebate or discount” has nothing at all to do

with pricing methods, while a different statutory phrase—added nearly 20 years after the Program’s

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creation, and long after the Health Resources and Services Administration (HRSA) had already

recognized a rebate model for certain covered entities—forecloses rebates entirely by requiring that

manufacturers “shall . . . offer” medicines to covered entities at or below ceiling prices. HRSA did

not adopt that interpretation, so the Court must ignore it, along with all of the extra-record evidence

Intervenors put forward. SEC v. Chenery Corp., 332 U.S. 194, 196 (1947). On this basis alone,

the Court can largely reject Intervenors’ arguments. But in any event, Intervenors’ interpretation

is as wrong as it sounds. Intervenors cannot explain away the statute’s multiple uses of the word

“rebate,” and their position relies on a misunderstanding of what it means to make an “offer” at a

particular price. It also would render two longstanding methods of effectuating the 340B price

unlawful—including the one Intervenors themselves prefer.

       Even apart from the statutory text, Intervenors fail to make sense of HRSA’s refusal to

approve Plaintiffs’ models. Intervenors’ sole answer to the cash-rebate model’s decades-long use

by AIDS Drug Assistance Programs (ADAPs), a type of covered entity, is that they are somehow

unique. But Intervenors have not explained how ADAPs’ particular attributes today are relevant to

the question whether a rebate model for other covered-entity types is permissible, and it is telling

that Intervenors have not identified any instance in which the ADAP rebate model has led to the

parade of horribles they fret about, much less HRSA doing so in the administrative record. And

Intervenors do not dispute that the extant product-replenishment model relies on post-purchase true-

ups—at least for the covered entity’s first purchase of a drug—to effectuate the 340B price. That

makes it a rebate model, just like Plaintiffs’ proposed models. These structural similarities leave

no room for singling out Plaintiffs’ models for harsher scrutiny.

       Intervenors also fail to justify HRSA’s distinctions, which have no legitimate regulatory

basis. HRSA views up-front discounts as the preferred way of implementing 340B pricing, even

though the statute treats rebates and discounts as peers, and even though no widely used 340B

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pricing method is an up-front discount. And HRSA privileges covered entities’ preferences over

program integrity. Absent Congressional authorization, agencies do not get to pick winners and

losers. Congress tells agencies what factors they may consider when making decisions. Covered

entities get no special preferences beyond that—no matter if some would prefer that manufacturers

not strive to prevent program-integrity violations in the absence of HRSA enforcement.

       Perhaps worst of all, Intervenors have no answer for the Inflation Reduction Act (IRA)-

related harms HRSA’s policy will soon unleash. At most, Intervenors hint at “limited data sharing

arrangements” they could supposedly “work with 340B Providers on.” Intervenors Br. 36. But

covered entities have no incentive to voluntarily share their data with manufacturers—some have

even refused to provide information sought by HRSA-approved audits or sued to block those au-

dits—and Intervenors do not suggest that covered entities will share data out of the goodness of

their hearts. Plaintiffs’ models create that incentive by conditioning receipt of the 340B price on

covered entities sharing data they keep in the ordinary course of their businesses—something the

D.C. Circuit and Third Circuit have held that manufacturers have the right to do.

       For all these reasons, Intervenors’ arguments should be rejected, and HRSA’s refusal to

approve Plaintiffs’ rebate models and its general policy forbidding rebate models absent HRSA

preapproval should be vacated and set aside. That is the ordinary remedy for arbitrary and capri-

cious agency action, and Intervenors have given no good reason for the Court to believe that HRSA

can salvage its refusal to approve Plaintiffs’ rebate models on remand.

                                          ARGUMENT

I.     SECTION 340B’S TEXT FORECLOSES INTERVENORS’ “DISCOUNT ONLY”
       INTERPRETATION, WHICH EVEN HRSA DOES NOT EMBRACE.

       As Plaintiffs have explained, the 340B statute does not discriminate or express a preference

between rebates and discounts. Lilly Opening Br. 26–27; BMS Opening Br. 24; Novartis Opening



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Br. 20; Sanofi Opening Br. 17. The statute merely provides that manufacturers enter into an agree-

ment where “the amount required to be paid” accounts for “any rebate or discount, as provided by

the Secretary.” 42 U.S.C. § 256b(a)(1). Post-purchase rebates and point-of-sale discounts are both

authorized, so long as the price is at or below the 340B ceiling price. Novartis Opening Br. 20; see

also Lilly Opening Br. 27; BMS Opening Br. 24–25; Sanofi Opening Br. 18.

       That statutory indifference to discounts and rebates continues throughout section 340B’s

text. The very next paragraph, for example, defines the statutory ceiling price, which is achieved

by reducing the “average manufacturer price.” See 42 U.S.C. § 256b(a)(2). That reduction is called

the “rebate percentage.” Id. Later, in the statute’s duplication prohibition, it again describes “dis-

counts or rebates.” Id. § 256b(a)(5)(A). And when Congress amended the 340B statute to try to

improve its functionality, one of the targeted changes was a “mechanism” for reporting “rebates

and other discounts” and ensuring that “such discounts or rebates” resulted in the appropriate ceil-

ing price. Id. § 256b(d)(1)(B)(iv). That persistent textual parity between rebates and discounts

belies any suggestion that the statute disfavors rebates—much less prefers product replenishment.

“Had Congress intended to” mandate the use of point-of-sale discounts, “it presumably would have

done so expressly.” Russello v. United States, 464 U.S. 16, 23 (1983).

       1. Intervenors take a position not even the Government accepts: that despite the clear stat-

utory language, rebate models are flatly prohibited under the 340B statute. Intervenors’ Br. 18–32.

This argument fails at the threshold for two distinct reasons.

       First, where HRSA did not embrace Intervenors’ discount-only reading of the statute in the

administrative record, Intervenors cannot deploy it as a post hoc rationale in this Court. See Bhd.

of Locomotive Eng’rs & Trainmen v. Federal R.R. Admin., 972 F.3d 83, 117 (D.C. Cir. 2020) (par-

ties cannot rely on arguments not presented by agency below). Review here is limited to the record

as the agency marshaled it, Camp v. Pitts, 411 U.S. 138, 142 (1973), and is confined to the agency’s

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rationale as HRSA articulated it, Chenery, 332 U.S. at 196. The Court may reject Intervenors’

novel arguments on that ground alone.

       Second, and relatedly, Intervenors cannot inject new issues into the case that the parties

have not raised. See Forest Cnty. Potawatomi Cmty. v. United States, 317 F.R.D. 6, 15 (D.D.C.

2016) (“In the past, courts have barred intervenors from injecting collateral issues into the litiga-

tion.”); Wildearth Guardians v. Salazar, 272 F.R.D. 4, 20 (D.D.C. 2010) (same). This Court should

not wade into Intervenors’ discount-model-only theory when even HRSA does not defend it.

       2. Intervenors’ argument fails on its own terms, anyway. Intervenors contend that any cash-

rebate or cash-replenishment model would “thwart[ ]” the statute’s “shall offer” provision, because

“manufacturers must offer to sell covered drugs at th[e] maximum ceiling price . . . in the first in-

stance.” Intervenors’ Br. 21. Even the Government does not embrace that maximalist reading of

the statute, and for good reason; Intervenors’ position is wrong in three different respects.

       First, Intervenors cannot make sense of the statute’s reference to “any rebate or discount.”

42 U.S.C. § 256b(a)(1) (emphasis added). Intervenors read out the word “rebate” entirely. See,

e.g., Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1068 (D.C. Cir. 2018) (“We presume that Congress

did not ‘include words that have no effect.’”) (quoting Antonin Scalia & Bryan J. Garner, Reading

Law: The Interpretation of Legal Texts 176–177 (2012)). If Congress had intended to revoke its

authorization of rebate models when it added the “shall offer” provision in 2010—the assumption

apparently underlying Intervenors’ claim—it would have done so by amending the provision ex-

pressly providing for a rebate mechanism. Yet that language remained unchanged. Intervenors

cannot “rewrite a statute’s plain text” to make it correspond with their policy preference. Eagle

Pharms., Inc. v. Azar, 952 F.3d 323, 335 (D.C. Cir. 2020) (quoting Landstar Express Am., Inc. v.

Fed. Mar. Comm’n, 569 F.3d 493, 498 (D.C. Cir. 2009) (Kavanaugh, J.)).




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       Intervenors try to paper over this problem by carving out a miniscule role for the “any rebate

or discount” language. They contend it merely gives the Secretary the power to “make . . . adjust-

ments” to the ceiling price in certain edge cases, such as new medicines without sufficient Medicaid

data, or “operational challenges” that would lead to 340B prices below a penny per unit. Interve-

nors’ Br. 18–21. For starters, Intervenors’ whole line of analysis assumes that “340B is an unp-

front discount,” which is the conclusion Intervenors are trying to prove. Intervenors’ Br. 19. Cir-

cularity aside, Intervenors refer to these ad hoc adjustments to 340B prices as “rebate and discount

authority” without justification—they never explain why the actions they describe qualify under

any definition of either term, let alone which one. Adjusting the price upward to avoid a negative

340B price can hardly be described as a “rebate or discount.” Contra Intervenors Br. 20. And

rebates and discounts differ primarily in their timing; the former effectuates a net price after an

initial transaction, while the latter does so at the time of the initial transaction. Lilly Opening

Br. 32–33; BMS Opening Br. 33; Novartis Opening Br. 29–30; Sanofi Opening Br. 23–24. None

of the “examples” Intervenors offer involve HRSA setting prices retroactively. Rather, Intervenors

seem to insist that this can never occur “because 340B is an up-front discount.” Intervenors’ Br. 19.

So even on their own terms, Intervenors cannot explain why Congress included the term “rebate”

in the 340B statute. That is textbook surplusage.

       Intervenors’ theory also implies that Congress carelessly cross-contaminated topics when

crafting the 340B statute. Intervenors assert that the “any rebate or discount” phrase is all about

calculating ceiling prices. Intervenors’ Br. at 20 (“[I]t simply describes how much the manufacturer

may charge.”). But Congress left that phrase in subsection (a)(1), which addresses the obligations

that manufacturers’ PPAs must impose. 42 U.S.C. § 256b(a)(1). If Intervenors’ theory were cor-

rect, the more natural place to put the language would have been in subsection (a)(2), which con-

tains instructions for calculating ceiling prices by defining the “rebate percentage.”            Id.

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§ 256b(a)(2). A statutory “phrase gathers meaning from the words around it.” Jones v. United

States, 527 U.S. 373, 389 (1999) (citation omitted). The context surrounding “any rebate or dis-

count” supports Plaintiffs’ reading: It is part of a set of instructions for effectuating 340B pricing.

        That conclusion is bolstered by Congress’s use of the phrase “rebates and other discounts”

to refer to a method of effectuating a net price at exactly the same time it added the “shall offer”

provision on which Intervenors rely. In the same amendment, Congress required reporting of these

pricing mechanisms in the private market and provided for a “mechanism” for lowering prices to

covered entities in response “if such discounts or rebates have the effect of lowering the applicable

ceiling price.” Pub. L. No. 111-148, §§ 2501, 7102(a), 124 Stat. 119, 309, 824 (2010) (codified at

42 U.S.C. § 256b(d)(1)(B)(iv)). That is both an implicit recognition that a post-purchase rebate is

part of a good’s net price, contra Intervenors’ Br. 20–21, and a use of the term “rebate” in its ordi-

nary sense: a way of effectuating a net price. It would be odd indeed if Congress, in the same

breath, referred to “rebates and other discounts” as a pricing mechanism, but left the phrase “any

rebate or discount” in the statute if its specific intention were to forbid the use of rebates as a pricing

mechanism. Azar v. Allina Health Servs., 587 U.S. 566, 574 (2019) (“This Court does not lightly

assume that Congress silently attaches different meanings to the same term in the same or related

statutes.”).

        Second, Intervenors’ reading conflicts with HRSA’s rebate guidance for ADAPs. See No-

tice Regarding Section 602 of the Veterans Health Care Act of 1992—Rebate Option, 63 Fed. Reg.

35,239, 35,240 (June 29, 1998). Intervenors’ primary response is that ADAPs “face unique chal-

lenges.” Intervenors’ Br. 30. Yet Intervenors never explain what makes ADAPs “unique,” nor

why the 340B statute supposedly (and silently) treats them differently: If Intervenors’ reading pre-




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vails, the rebate model used for ADAPs—which has seen decades of success—would become un-

lawful.1 And although “HRSA’s guidance related to ADAPs precedes the 2010 addition of the

‘shall offer’ provision to the 340B statute,” Intervenors’ Br. 30, that guidance remains in effect

today. As HRSA’s current guidance manual for ADAPs recognizes, ADAPs “submit claims to

drug manufacturers for rebates on medications that were purchased through a retail pharmacy net-

work at a price higher than the 340B price.” HIV/AIDS Bureau, AIDS Drug Assistance Program

(ADAP) Manual 42 (June 2023), https://tinyurl.com/2pcx49t4. And HRSA has conceded that cash

rebates for ADAPs are “consistent with the section 340B rebate program.” 63 Fed. Reg. at 35,240.

That’s because “Section 340B has no explicit language as to whether the required reduction in price

should be obtained by an initial reduction in the purchase price (i.e., a discount mechanism) or

received as a required reduction in cost rebated after purchase, dispensing, and payment are com-

pleted (i.e., a rebate option).” Notice Regarding Section 602 of the Veterans Health Care Act of

1992 Rebate Option, 62 Fed. Reg. 45,823, 45,824 (Aug. 29, 1997).

       All these things were true in 2010 when Congress added the “shall offer” provision. This

highlights a revealing gap in Intervenors’ reasoning: If, as Intervenors claim (at 23), Congress’s

intention was to “requir[e] an up-front price reduction,” why did Congress say nothing at all about

a prominent, longstanding example of a back-end price reduction—the precise thing it was suppos-

edly trying to quash? Congress was presumably aware of the way HRSA had interpreted the stat-

ute’s “any rebate or discount” language. See Jackson v. Modly, 949 F.3d 763, 773 (D.C. Cir. 2020).

Yet Intervenors have not produced a shred of evidence—not text, not drafting history, not public

statements, nothing—that Congress had ADAPs in mind in 2010.              That Congress did not



1
  Notably, the only ADAPs that have expressed their views in this case strongly support the use of
Plaintiffs’ models. No. 24-CV-3337, ECF No. 26 at 15–16 (noting that Plaintiffs’ models would
“give covered entities transparency into manufacturer concessions”).

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acknowledge what Intervenors take to be the primary concrete consequence of its amendment is

powerful evidence that Intervenors are mistaken.

       Third, under Intervenors’ reading of section 340B, the product-replenishment model, which

Intervenors tout as an unassailable regime, would itself violate the statute. As Intervenors concede,

covered entities that dispense medicines in-house still must “pay[ ] market price for a drug one

time.” Intervenors’ Br. 31. But according to Intervenors’ discount-only reading of the statute, even

“one time” is too many.2 As Intervenors explain their theory, “any attempt to sell drugs to 340B

providers above [the ceiling price] in the first instance would, by definition, run afoul of the statu-

tory language.” Intervenors’ Br. 21. Even “some amount of payment later,” Intervenors say, would

“thwart[ ]” the “clear mechanics of the ‘shall offer’ provision.” Id. But if a sale at the wholesale

price violates the 340B statute, that would make the first step in the product-replenishment model—

the one-time wholesale-price purchase—unlawful. Intervenors never explain the contradiction.

       2. Intervenors contend that their reading must be correct because Plaintiffs’ reading “ren-

der[s] the ‘shall offer’ provision entirely redundant.” Intervenors’ Br. 23. To the contrary, Plain-

tiffs’ interpretation of the “shall offer” provision gives effect to its ordinary meaning in multiple

different ways. The statute provides that the PPA “shall require that the manufacturer offer each

covered entity covered outpatient drugs for purchase at or below the applicable ceiling price.” 42

U.S.C. § 256b(a)(1) (emphasis added). “Price” means “[t]he cost of acquiring or producing some-

thing.” Price, Black’s Law Dictionary (12th ed. 2024). Nothing requires that cost to be provided


2
  It is also not the case that covered entities pay the market price only once under the product-
replenishment model. As the state and regional hospital association amici observe, covered entities
keep “separate drug purchasing accounts based on different types of pricing available” and then
keep “products purchased through all different accounts mixed in one physical inventory.” No. 24-
CV-3220, ECF No. 39-1 at 8. Under the routine operation of the product-replenishment model,
then, a covered entity may pay the commercial price for a unit under a non-340B purchasing ac-
count, dispense that unit to an ostensibly 340B-eligible patient, and then claim a “replenishment”
unit as a result. Every instance would be illegal under Intervenors’ view.

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up-front. A consumer that receives a rebate for a product has acquired the product at the post-

rebate price.

       Common understanding bears that out. See Sebelius v. Cloer, 569 U.S. 369, 370 (2013)

(defining a word as it “is commonly understood”). Suppose Best Buy offers a laptop for $1,000

with a $200 mail-in rebate for students paid 14 days after the student submits a copy of her receipt

and student ID. For what price is Best Buy offering the laptop to students? $800, of course, which

is why mail-in rebates are a successful way to drive sales. See Sanofi Opening Br. 23–24.

       The same goes for prescription medicines.         “The transaction price of a prescription

drug . . . includes discounts and rebates.” Pharmaceutical Rsch. & Mfrs. of Am. v. David, 510 F.

Supp. 3d 891, 898 (E.D. Cal. 2021). And manufacturers routinely “offer[ ] lower prices . . . through

rebates or discounts.” Cash & Henderson Drugs, Inc. v. Johnson & Johnson, 799 F.3d 202, 206

(2d Cir. 2015) (emphasis added); see also, e.g., FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34,

41 (D.D.C. 1998) (explaining that manufacturers may offer “cash rebates” to wholesalers that result

in a wholesaler “acquir[ing] the drugs for prices less than the listed [wholesale acquisition cost]”)

(emphasis added). An offer to purchase medicine and then receive a rebate is an offer to purchase

the medicine at the price after the rebate. Plaintiffs’ 340B models therefore do not result in covered

entities paying more than the ceiling price.

       Parallel provisions and regulations likewise reinforce that the 340B statute’s “shall offer”

provision by its plain terms is satisfied when a covered entity receives a rebate that reduces the

price for an eligible purchase to the ceiling price. Under the Medicaid Drug Rebate Program

(MDRP), the “best price” for a medicine “shall be inclusive of cash discounts, . . . volume dis-

counts, and rebates.” See, e.g., 42 U.S.C. § 1396r-8(c)(1)(C)(ii)(I). Medicaid regulations similarly

define “[b]est price” to include “applicable discounts, rebates, or other transactions that adjust

prices either directly or indirectly.” 42 C.F.R. § 447.505(b). The Medicare Part D statute provides

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that “negotiated prices . . . shall take into account negotiated price concessions, such as discounts,

direct or indirect subsidies, rebates, and direct or indirect remunerations, for covered part D drugs.”

42 U.S.C. § 1395w-102(d)(1)(B). And regulations define “[p]rice concession” for Part D as “any

form of discount, direct or indirect subsidy, or rebate received by the Part D [plan] sponsor . . . that

serves to decrease the costs incurred under the Part D plan.” 42 C.F.R. § 423.100; see also 24-CV-

3220, ECF No. 21-1 at 8–10 (collecting examples of the use of rebates in federal programs).

       The “shall offer” provision instead imposes distinct and important restrictions on manufac-

turers. By itself, the first sentence of the 340B statute requires a manufacturer only to “enter into

an agreement” that establishes “the amount required to be paid.” 42 U.S.C. § 256b(a)(1). It says

nothing about how—or whether—a covered entity will actually receive 340B-priced medicines.

The “shall offer” provision fills that gap by requiring a manufacturer to actually “offer each covered

entity covered outpatient drugs for purchase at or below the applicable ceiling price.” Id. Put

differently, the “shall offer” provision prevents a manufacturer from simply declining to make its

products available to covered entities to avoid the lost revenue that results from selling medicines

at or below the ceiling price.

       The ”shall offer” provision also regulates the conditions manufacturers can attach to 340B

pricing because offers must be “bona fide.” Novartis Pharms. Corp. v. Johnson, 102 F.4th 452,

462 (D.C. Cir. 2024). A manufacturer that conditions the 340B price on medicine being delivered

at its own facilities or that “requires that a covered entity pick up its orders one pill at a time”

violates the statute even if the price charged—taking into account any rebate or discount—is at or

below the 340B ceiling price. Id. Similarly, “some conditions may be onerous enough to effec-

tively increase the contract ‘price,’ thus perhaps nudging it above the statutory ceiling.” Id. But

Plaintiffs’ models include nothing of the sort, as they merely request claims data—which Novartis

approved—and provide for prompt rebates, avoiding the scenarios about which Intervenors (at 28)

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fret. See AR 272, 330, 409–410, 435. And even if there may be difficult corner cases, the D.C.

Circuit has expressed “confiden[ce] that the courts can sensibly adjudicate [such] questions . . . if

they should arise.” Novartis, 102 F.4th at 462–463. “For now,” the Court need only hold that

Intervenors’ “concern about unreasonable conditions fails to justify [their] atextual and ahistorical

position that manufacturers may impose no [rebate models] at all.” Id. at 463.

       3. Intervenors’ statutory-structure arguments are even less compelling. Intervenors point

to the fact that “only the Secretary and manufacturers” have “statutory audit rights” as proof that

manufacturers must “provide[ ] up front” discounts. Intervenors’ Br. 25. But Plaintiffs’ models do

not render manufacturers’ statutory audit rights superfluous. Except for certain covered entities

under Sanofi’s model, Plaintiffs’ models do not attempt to stop diversion, a common source of

340B statutory violations by covered entities. See Lilly Opening Br. 9; BMS Opening Br. 8; No-

vartis Opening Br. 11; Sanofi Opening Br. 13–14.3 Even to the extent Sanofi attempts to prevent

diversion, that will not erase the need for audits to detect diversion that slips through—or duplicate

discounting, for that matter. No one has claimed Plaintiffs’ models will be airtight in preventing

statutory violations, and manufacturers routinely rely on audit rights under commercial agreements

regardless of the level of validation used before extending a price reduction. That is because any



3
  Intervenors also misrepresent the patient-eligibility condition applied by Sanofi’s model to hos-
pital covered entities. See Intervenors’ Br. 15–17. For example, Intervenors claim that Sanofi’s
patient definition “differ[s] significantly from HRSA’s 1996 Patient Definition Guidelines,” Inter-
venors’ Br. 15, but HRSA did not object to how Sanofi defines and applies the term “patient,”
presumably because it recognized that Sanofi adopted and operationalized the agency’s own defi-
nition. See AR 424–425. Nor did the agency express any concerns about hypothetical patients in
rural areas. Id. Here, too, Intervenors’ concerns are misguided. In their cancer hypothetical, for
example, the 340B rebate would apply because the prescription (chemotherapy) relates to the care
(chemotherapy) provided by the covered entity. See AR 389. And Intervenors’ purported concerns
about how Sanofi will apply its policy are entirely speculative—as is their insinuation that Sanofi
will act in bad faith. In all events, none of these points were raised by the agency, so the Court
should not consider them now. See supra p.5 (Intervenors cannot supply post hoc rationale or inject
new issues into the case).

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number of concerns may be identified after the fact that would justify an audit. In any event, noth-

ing about Plaintiffs’ interpretation would require manufacturers to use cash-rebate or cash-replen-

ishment models, and so it is irrelevant that the use of those models may make audits less necessary.

Statutory language is not surplusage simply because it need not be invoked in all circumstances.

       Moreover, contrary to Intervenors’ arguments, the claims-data requirements in Plaintiffs’

340B models “are necessary to give teeth to the audit provision because [Plaintiffs] need the data

to demonstrate that there is cause to audit,” and in turn access ADR proceedings. Intervenors’

Br. 25 (emphasis added). Without that data—which only the covered entities possess and which

they keep in their ordinary course of business, AR 435—Plaintiffs will unknowingly offer duplicate

340B and MDRP price concessions. See Lilly Opening Br. 38–39; Novartis Opening Br. 17–18;

BMS Opening Br. 34–35. Even worse, the IRA does not provide manufacturers the right to audit

covered entities to ensure they are not creating illegal MFP-340B duplicates. BMS Opening

Br. 15–18; Novartis Opening Br. 34–38. So Intervenors’ reading—not Plaintiffs’—has the effect

of “render[ing] nugatory the audit provision.” Intervenors’ Br. 26. By confining Plaintiffs to the

product-replenishment model, Intervenors’ reading limits Plaintiffs’ access to the information they

need to effectuate the audit and ADR provisions of the statute. See Manufacturer Audit Guidelines

and Dispute Resolution Process, 61 Fed. Reg. 65,406, 65,410 (Dec. 12, 1996) (requiring manufac-

turers to establish “reasonable cause” for an audit); 42 U.S.C. § 256b(d)(3)(A) (no ADR claim

without an audit).

       Intervenors further argue that “HRSA is best suited to oversee all aspects of the 340B pro-

gram and to take appropriate compliance actions when necessary.” Intervenors’ Br. 26. But that

policy position has no basis in the statutory text, which the D.C. Circuit has already held permits

manufacturers to police covered-entity abuses by imposing reasonable conditions on extending the

340B price. See Novartis, 102 F.4th at 464. And Intervenors are wrong to suggest that HRSA is

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the Program’s best watchdog. HRSA has abandoned its duty to police the product-replenishment

model, despite its plain potential for spawning incorrect and duplicate price concessions. See Gov-

ernment Accountability Office (GAO), GAO-20-212, 340B Drug Discount Program: Oversight of

the Intersection with the Medicaid Drug Rebate Program Needs Improvement 23–26 (Jan. 2020)

(2020 GAO Report), https://www.gao.gov/assets/gao-20-212.pdf. Instead of reining in the prod-

uct-replenishment model’s abuses, HRSA has refused to reveal the details of how contract-phar-

macies use it and helped perpetuate misconceptions about what it entails. Brief of Eli Lilly & Co.

as Amicus Curiae, Sanofi-Aventis U.S. LLC v. HHS, No. 24-CV-1603 (DLF) (D.D.C. Oct. 31,

2024), ECF No. 19-1 at 4–6. And HRSA recently doubled down on refusing to audit in Medicaid

managed care, despite conceding that utilization of Medicaid managed care can result in prohibited

discount duplication. See 340B Drug Pricing Program; Administrative Dispute Resolution Regu-

lation, 89 Fed. Reg. 28,634, 28,649 (Apr. 19, 2024). HRSA’s actions—or lack thereof—have

forced Plaintiffs to pursue rebate models to protect themselves from costly statutory violations.

       Intervenors also fault the 340B statute for not providing “exacting” detail on how a rebate

model would function, contrasting it with the Medicaid rebate law, which “lays out a multitude of

specifics related to the Medicaid Drug Rebate Program.” Intervenors’ Br. 28. But the 340B statute

says just as much about any rebate model as it does about any discount model—and more than it

says about the product-replenishment model of which Intervenors are so fond. Yet Intervenors

contend that the product-replenishment model—or perhaps a true point-of-purchase discount

model—is the only way to comply with the statute.

       4. Intervenors conclude by trying—and failing—to poke holes in the “widespread abuses

in the 340B Program” that Plaintiffs have identified. Intervenors’ Br. 33. But Intervenors cannot

explain away the many status quo problems that Plaintiffs properly raised to the agency—the very

same problems Plaintiffs’ new models attempt to solve.

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       First, Intervenors quibble with what they call “cherry-picked statistics regarding HRSA’s

audit findings.” Id. The statistics come from the Government itself, which, of course, does not

dispute them. And Intervenors do not contest GAO’s findings—which, again, ignore abuses in

Medicaid managed care, Lilly Opening Br. 15; BMS Opening Br. 13; Novartis Opening Br. 13—

that fully “72 percent of the covered entities audited in fiscal years 2012 through 2017 had one or

more findings of noncompliance.” GAO, GAO-18-480, Drug Discount Program: Federal Over-

sight of Compliance at 340B Contract Pharmacies Needs Improvement 16 (June 2018) (2018 GAO

Report), https://www.gao.gov/assets/d18480.pdf. Nor do Intervenors take issue with research cited

by Plaintiffs that estimates three-to-five percent of all Medicaid rebates now duplicate 340B pric-

ing. Ashwin Mundra, Drug Channels, The 340B Noncompliance Data Gap Leaves Drug Manufac-

turers in the Dark (Mar. 18, 2022), https://tinyurl.com/445uvh88; see also Brief of Eli Lilly & Co.

as Amicus Curiae, Sanofi-Aventis U.S. LLC v. HHS, No. 24-CV-1603 (DLF) (D.D.C. Oct. 31,

2024), ECF No. 19-1 at 7 (noting that “extensive internal investigation and analysis” revealed “that

two covered entities had likely engaged in violations of the 340B statute, including duplicate dis-

counting”). At bottom, Intervenors’ attempt to explain away some subset of violations cannot de-

tract from the Government’s own findings that have long “identified several areas of weakness in

HRSA’s oversight processes that impede its ability to ensure that duplicate discounts are prevented

or remedied.” 2020 GAO Report, supra p.14, at 23. Indeed, a former CMS official “acknowledged

there has been duplication between 340B discounts and Medicaid rebates, even though manufac-

turers should be protected from it.” Cathy Kelly, CMS May Engage in Medicare, 340B Discount

Deduplication ‘Eventually,’ Ex-CMS Official Says, Citeline Regulatory (Mar. 13, 2025), https://ti-

nyurl.com/sbstjepm. The widespread abuses in the 340B Program that Plaintiffs seek to redress

through their 340B models are not cherry-picked or hypothetical: They are real, persistent, con-

firmed by the Government itself, and must be stopped—now.

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       Intervenors’ attempt to minimize HRSA’s audit findings is misleading. They suggest that

some findings of duplication could be illusory as the result of “[f]ailure to have the correct num-

bers” on HRSA’s 340B Medicaid Exclusion File (MEF). Intervenors’ Br. at 33–34. Not so; HRSA

expressly distinguishes between MEF inaccuracies that caused “[d]uplicate [d]iscounts” and those

for which “[i]t was determined that duplicate discounts did not occur as a result.” E.g., HRSA,

Program Integrity: FY24 Audit Results (last updated Mar. 26, 2025) (compare the entry for “Ault-

man Orrville Hospital” with that for “Baptist Hospital”), https://www.hrsa.gov/opa/program-integ-

rity/fy-24-audit-results. In any event, accurate participation in HRSA’s MEF is a statutory respon-

sibility. See 42 U.S.C. § 256b(d)(2)(B)(iv). Intervenors may not decide for themselves which

compliance obligations are worthy of being enforced.

       Second, Intervenors point the finger at state Medicaid plans and maintain that covered enti-

ties “have no role in preventing Medicaid MCOs from improperly claiming rebates on 340B MCO

claims.” Intervenors’ Br. 35. But state Medicaid agencies try the same trick, seeking to pawn off

their obligations onto covered entities. See, e.g., Michigan Dep’t of Health and Human Servs.,

Enhanced 340B Reporting Requirements 1 (Mar. 1, 2017), https://tinyurl.com/2ww887rr

(“[P]roviders are responsible for accurate reporting of drugs purchased through the 340B pro-

gram . . . .”). At bottom, blame shifting cannot change what the statute says: “A covered entity

shall not request payment . . . with respect to a drug that is subject to an agreement under this sec-

tion if the drug is subject to the payment of a rebate to the State under” Medicaid. 42 U.S.C.

§ 256b(a)(5)(A)(i) (emphasis added). Covered entities cannot shrug off a responsibility Congress

gave them directly.

       Third, Intervenors blame Plaintiffs for failing to “work with 340B Providers on limited data

sharing arrangements for 340B drugs.” Intervenors’ Br. 36. Intervenors conspicuously do not vol-

unteer their agreement to such requests. And covered entities could provide this data—which they

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already “collect, report, and maintain in the normal course of business,” AR 435—of their own free

will, but they do not. Plaintiffs are entitled to attach “reasonable conditions” to their offer, Novartis,

102 F.4th at 461, and the “limited data” that Plaintiffs request through their 340B models is one

such condition—requiring covered entities to provide the data needed to implement deduplication

obligations and giving them an incentive to do so timely. Tellingly, Intervenors do not claim that

the substance of the data Plaintiffs’ models require is unreasonable or irrelevant. See Intervenors’

Br. 31 (noting that the data Plaintiffs seek is similar to data that would be provided in an audit); see

also Gov. Br. 24 (suggesting that Plaintiffs should “impose [these] data-reporting conditions on

340B covered entities” in another form). Rightly so: Plaintiffs seek essentially the same data that

covered entities already send to their third-party administrators to grease the wheels of the product-

replenishment model. No. 24-CV-3337, ECF No. 26 at 17–18.

        Finally, Intervenors are left to loudly contend that this litigation is “a full-frontal attack on

the 340B program.” Intervenors’ Br. 32. False. Plaintiffs are committed to the 340B Program’s

original mission. Plaintiffs’ models are narrowly focused on detecting and stopping practices the

340B statute expressly prohibits—and will not even deny 340B rebates in response to evidence of

duplicate discounting. At bottom, Plaintiffs’ models will create information parity that will im-

prove existing processes and benefit all stakeholders. AR 273, 307, 435; No. 24-CV-3220, ECF

No. 26-1 at 21–24. Those outcomes would save the 340B Program, not destroy it.

        Intervenors’ position, in the end, seems to be that any model covered entities dislike is not

allowed by the 340B statute. But “[i]t is ‘quite mistaken to assume’ . . . that any interpretation of a

law that does more to advance a statute’s putative goal ‘must be the law.’ ” Luna Perez v. Sturgis

Pub. Schs., 598 U.S. 142, 150 (2023) (quoting Henson v. Santander Consumer USA Inc., 582 U.S.

79, 89 (2017)). The 340B statute seeks to make reduced-price medicine available to covered enti-

ties; it also seeks to ensure that manufacturers are not subject to duplicate discounts and that 340B-

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priced drugs are not diverted to non-340B patients. “[L]egislation invariably includes trade-offs

between different interests,” Sault Ste. Marie Tribe of Chippewa Indians v. Haaland, 25 F.4th 12,

24 (D.C. Cir. 2022), and section 340B is no different. Its text simply does not allow the discount-

only reading that Intervenors suppose.

II.    INTERVENORS DO NOT PROVIDE A NON-ARBITRARY RATIONALE FOR
       HRSA’S REFUSAL TO APPROVE PLAINTIFFS’ MODELS.

       HRSA’s refusal to approve Plaintiffs’ rebate models is doubly unlawful because it is also

arbitrary and capricious. See Lilly Opening Br. 30–44; BMS Opening Br. 27–42; Novartis Opening

Br. 23–34; Sanofi Opening Br. 27–29. First, HRSA has already asked and answered the rebate-

model question with ADAPs. HRSA blessed the rebate model for ADAPs, and the agency may not

now block the model’s implementation here without irrationally treating like cases differently. Sec-

ond, the product-replenishment model and the rebate model are legally equivalent, meaning HRSA

may not elevate one over the other. Third, HRSA’s actions force Plaintiffs to provide 340B pricing

where none is owed, a result that perpetuates unlawful diversion and duplicate discounting. Fourth,

HRSA’s position denies BMS and Novartis the only feasible means of preventing MFP-340B du-

plication. Finally, the agency’s decision fails to consider an important aspect of the problem—

namely, the compelling operational and program-integrity reasons for adopting the rebate model—

and HRSA’s position undermines the commonsense benefits the rebate model offers. Each of those

defects is an independent reason to grant summary judgment for Plaintiffs.

       A word about the record that HRSA produced: It supplies the full—and only—basis for

this Court’s arbitrary-and-capricious review of the agency’s decision. Camp, 411 U.S. at 142

(“[T]he focal point for judicial review should be the administrative record already in existence, not

some new record made initially in the reviewing court.”). Intervenors’ brief is replete (at 6, 7, 8

13, 14) with extra-record citations, some of which are designed to support rationales the agency



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itself did not adopt; Intervenors even suggest “HRSA may have provided additional justifications

for its decision” beyond what is reflected in the administrative record. Intervenors’ Br. 40 n.48.

To be clear, the agency documented its thinking in response to meetings held with and correspond-

ence received from manufacturers, see, e.g., AR 53–54, and any unspoken reasons not in the rec-

ord—if there were any—are off limits, anyway. “When a party challenges agency action as arbi-

trary and capricious the reasonableness of the agency’s action is judged in accordance with its stated

reasons. Agency deliberations not part of the record are deemed immaterial.” In re Subpoena

Duces Tecum Served on Off. of Comptroller of Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998)

(internal citation omitted). The Court should therefore disregard Intervenors’ additional arguments

in defense of HRSA’s position. Chenery, 332 U.S. at 196.

       A.      HRSA Irrationally Distinguished Between Plaintiffs’ Models And The ADAP
               Cash-Rebate Model.

       There is no reasoned basis—especially not a reasoned basis in the record—on which HRSA

could treat Plaintiffs’ models differently from the model used for ADAPs. HRSA did not object to

a rebate model in the ADAP context, on-point agency precedent that Intervenors call an “excep-

tion,” Intervenors’ Br. 4 n.5, and that makes its reaction against Plaintiffs’ rebate models all the

more unreasonable. AR 57–58, 332–333, 354, 436–437. Intervenors offer thin defenses for

HRSA’s uneven approach to rebate models, none of which withstand scrutiny.

       The method of payment for Plaintiffs’ models and the ADAP cash-rebate model are identi-

cal. With the ADAP cash-rebate model, HRSA said that an after-purchase rebate “as a method” of

furnishing “the 340B discount provided by the statutory ceiling price” was legitimate. 63 Fed. Reg.

at 35,242. Intervenors offer no adequate response to explain HRSA’s differential treatment of

Plaintiffs’ models; covered entities’ interests may be differently “situated,” but the means by which

they access 340B pricing cannot be subject to the agency’s whim. Intervenors’ Br 41. For this



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reason, the agency’s action is arbitrary. See County of Los Angeles v. Shalala, 192 F.3d 1005, 1023

(D.C. Cir. 1999).

       As for concerns about covered entities’ “cashflow,” Intervenors’ Br. 21, HRSA suggested

that ADAPs and manufacturers may use “standard business practices” to assist in advance planning

for any issues that may arise. 63 Fed. Reg. at 35,239–42. That logic applies equally to other types

of covered entities. Here again, Intervenors provide no explanation why ADAPs, but not major

disproportionate share hospitals (DSH)—some of the largest, most sophisticated, and most profit-

able hospitals in the country—can accommodate short windows between wholesale purchases and

rebates. Intervenors’ Br. 4–5 n.5. The record shows that Plaintiffs’ models would preserve covered

entities’ cash flow as well as, if not better than, the product-replenishment model does. AR

269, 287. And Intervenors do not dispute that ADAPs’ reliance on a network of retail pharmacies

closely resembles the contract-pharmacy and third-party-administrator arrangements that hospitals

and other covered entities use under the product-replenishment model. See BMS Opening Br. 31;

Novartis Opening Br. 28; Lilly Opening Br. 36.

       HRSA’s comparative reasoning with respect to ADAPs is also wrong. To be sure, a rebate

model for ADAPs was especially appropriate because ADAPs had difficulty accessing 340B-priced

medicines through other means. Intervenors’ Br. 4–5 n.5 (citing 63 Fed. Reg. at 35,242). But

HRSA clings to the premise that discounts are the default mechanism, unless it finds good reasons

to deviate.4 Nowhere does the statute prioritize one or the other or authorize HRSA to reserve a

rebate model for some types of covered entities and not others, however. And that ADAPs face

“unique challenges” that may prevent them from using a discount model, Intervenors’ Br. 30,



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  This premise also clashes with the omnipresence of the product-replenishment model, which is
fundamentally a rebate model, not a discount model. Lilly Opening Br. 32–33; BMS Opening
Br. 33–34; Novartis Opening Br. 29–30.

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hardly suggests that other 340B covered entities are uniquely well-suited to a discount model only.

HRSA’s guidance document also does not support that reading, which HRSA notably did not rely

on to reach its decision. AR 342–344 (BMS Ltr.); AR 292–294 (Lilly Ltr.); AR 202–204 (Johnson

& Johnson Ltr.); AR 380–382 (Sanofi Ltr.); AR 439–441 (Novartis Ltr.).

        B.      HRSA Irrationally Distinguished Between Plaintiffs’ Models And The
                Product-Replenishment Model.

        HRSA’s refusal to approve Plaintiffs’ rebate models is also arbitrary and capricious because

the existing product-replenishment model is itself a rebate model. Lilly Opening Br. 32–33; BMS

Opening Br. 33–34; Novartis Opening Br. 29–30; Sanofi Opening Br. 26. Intervenors disagree.

Intervenors’ Br. 31. But Intervenors make a critical—indeed, dispositive—concession: The prod-

uct-replenishment model begins with a wholesale-price purchase, followed by a later purchase at

the 340B price. Intervenors’ Br. 31 (“Under the in-house replenishment model, the 340B Provider

pays market price for a drug one time.”). Both models therefore rely on retrospective provisioning

of the 340B price, after an initial purchase of medicine at the market price. AR 203 (HRSA ac-

knowledging that “under a typical replenishment structure, a covered entity generally makes an

initial purchase at a higher price”).

        That is a rebate model: If Intervenors were correct that a rebate should be ignored when

determining the purchase price, then Plaintiffs’ model of a rebate paid in cash could be described

in the exact same way as the existing product-replenishment model. Suppose a manufacturer

wholesales medicine for $100 a unit and the 340B ceiling price on the unit is $50. Under Plaintiffs’

models, a covered entity purchases its first unit for $100, uses the unit to fill its eligible patients’

prescriptions, and receives a $50 cash rebate. The covered entity can put that $50 rebate towards

the purchase of a replacement unit of medicine, such that it pays only $50 out of pocket for the

replacement unit. The covered entity then uses the replacement unit to fill its eligible patients’



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prescriptions, receives another $50 rebate, can apply the $50 towards another $100 replacement

purchase of medicine, and so on in perpetuity. There is an initial wholesale-price purchase that

begins a flywheel of later reduced-price purchases under both models, and the covered entity must

pay the full wholesale price for only the first purchase.

       With Intervenors’ misconceptions cleared up, the arbitrariness of HRSA’s denial becomes

plain: “A fundamental norm of administrative procedure requires an agency to treat like cases

alike.” Westar Energy, Inc. v. FERC, 473 F.3d 1239, 1241 (D.C. Cir. 2007). Thus, “[i]f the agency

makes an exception in one case, then it must either make an exception in a similar case or point to

a relevant distinction between the two cases.” Id. Applied here, if HRSA has tacitly blessed the

product-replenishment model, then it should do the same for Plaintiffs’ functionally identical rebate

models. The only difference between the two is that instead of replacing product with product, as

the product-replenishment model does, Plaintiffs’ models replace product with cash that can be

used to replace the product; that is precisely why Lilly’s model is called a “cash-replenishment”

model. See Lilly Opening Br. 18 n.12

       Independent Petroleum Association of America v. Babbitt, 92 F.3d 1248 (D.C. Cir. 1996),

is instructive. There, the Department of Interior sought to collect royalties on one type of payment

made to gas producers, but not another. Id. at 1260. Although the payment types differed in that

only one “follow[ed] negotiations between the parties over the cancellation of contractual obliga-

tions,” the Court concluded that this distinction made no difference when assessing “the functional

nature of the payments for royalty purposes.” Id. Here too, the functional nature of the product-

replenishment model and Plaintiffs’ intended rebate models is the same: Both depend on an initial

purchase at wholesale rates followed by subsequent purchases at reduced prices. Against that back-

drop, HRSA has failed to articulate a sufficient, nonarbitrary rationale for treating the two models

differently. See id. at 1260 (“The treatment of cases A and B, where the two cases are functionally

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indistinguishable, must be consistent. That is the very meaning of the arbitrary and capricious

standard.”).

       C.      HRSA’s Policy Impedes Statutory Objectives.

       Intervenors do not contest one of the chief flaws in HRSA’s insistence on the product-re-

plenishment model: The 340B statute prohibits duplicate-discounting and diversion, yet the prod-

uct-replenishment model inherently enables violations of those key statutory provisions. AR 300.

The product-replenishment model commingles 340B and non-340B inventory, and uses a pass-the-

baton methodology for moving the 340B price and attendant compliance obligations from unit-to-

unit. AR 324. That means that Plaintiffs’ medicines are all-too-frequently diverted to non-340B-

eligible patients—a problem exacerbated by prolific contract-pharmacy arrangements. And be-

cause HRSA currently lacks the oversight tools or the will to monitor for unlawful duplication,

manufacturers also pay multiple price concessions on the same unit. Novartis Opening Br. 24–25;

BMS Opening Br. 34–36; Lilly Opening Br. 7; Sanofi Opening Br. 8–10. As the agency tasked

with enforcing the 340B statute and its anti-duplication, anti-diversion aims, HRSA was at mini-

mum required to acknowledge this inconsonance. Its failure to clear even that minimum bar was

arbitrary and capricious. See Independent U.S. Tanker Owners Comm. v. Dole, 809 F.2d 847, 854

(D.C. Cir. 1987) (agency’s failure to discuss how rule squares with statute’s objective is arbitrary

and capricious). HRSA’s action should be set aside now, notwithstanding Intervenors’ interest in

preserving the status quo until HRSA finds the time to meet its APA obligations. See Intervenors’

Br. 42.5




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   Under that status quo, the charity-care ratios of 340B hospitals that Intervenors emphasize
(at 6–8) have fallen by 20% between 2011 and 2022, even as 340B program purchases have doubled
over the same period. No. 24-CV-3337, ECF No. 26 at 10.

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       Moreover, Intervenors’ emphasis (at 5, 15) on manufacturers’ ability to conduct audits over-

looks audits’ lackluster track record of enforcing program integrity. Lilly’s experience attempting

to audit covered entities confirms as much. Despite receiving HRSA’s approval to implement two

audit plans, covered entities have dragged their feet and refused to produce documents HRSA spe-

cifically authorized Lilly to seek, with “HRSA . . . refus[ing] to require compliance and enforce the

very document requests that it previously approved.” Brief of Eli Lilly & Co. as Amicus Curiae,

Sanofi-Aventis U.S. LLC v. HHS, No. 24-CV-1603 (DLF) (D.D.C. Oct. 31, 2024), ECF No. 19-1

at 7–10, 13. But the best proof of these processes’ current inadequacy is ultimately the real-world

results: rampant duplication and other improper pricing,6 costs to the Government from improperly

claimed Medicaid discounts, and a system in which “stakeholders can feel they are operating in the

dark.” Kalderos, 2022 Annual Report: Conquering the “Great Unknown” 24–25 (2022), https://ti-

nyurl.com/45tv6bw6.

       What’s more, although Intervenors and their amici tout audits as allowing manufacturers to

address fraud and abuse, these same entities have fought tooth and nail against manufacturers who

have availed themselves of their audits rights. Intervenors do not mention that manufacturers who

obtained HRSA’s approval—following a reasonable cause finding—to conduct audits are fighting

off legal challenges from covered entities that seek to stop them in their tracks.7 Far from a fix for



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  See, e.g., AR 432 n.19 (citing GAO, GAO-21-107, Drug Pricing Program: HHS Uses Multiple
Mechanisms to Help Ensure Compliance with 340B Requirements 14 (Dec. 2020),
https://www.gao.gov/assets/gao-21-107.pdf; House Energy & Commerce Comm., Review of the
340B Drug Pricing Program 36–37 (Jan. 10, 2018), https://tinyurl.com/58rpjk; Mundra, supra
p.15); Lindsay Bealor Greenleaf, Analysis of FY 2021 HRSA 340B Covered Entity Audits (Feb. 23,
2023), https://tinyurl.com/yc2aktnh.
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  E.g., Oregon Health & Sci. Univ. v. Engels, 24-CV-2184 (RC) (D.D.C. filed July 24, 2024);
MaineGeneral Med. Ctr. v. Engels, 24-CV-2187 (RC) (D.D.C. filed July 24, 2024); University of
Rochester v. Engels, 24-CV-2268 (RC) (D.D.C. filed Aug. 1, 2024); Children’s Nat’l Med. Ctr. v.
Engels, 24-CV-2563 (RC) (D.D.C. filed Sept. 6, 2024); University of Wash. Med. Ctr. v. Kennedy,


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Plaintiffs’ well-founded complaints, the ADR and audit process—as HRSA administers it—ensures

that manufacturers are unable to pursue 340B statutory compliance through one of the few means

theoretically available.

       D.      The Agency’s Policy Precludes Manufacturers From Implementing MFP-
               340B Nonduplication.

       BMS and Novartis have set out how their obligations under the Drug Price Negotiation

Program’s maximum fair price provisions and the 340B statute are incompatible with the current

product-replenishment model, as well as how the rebate model is the only readily available means

manufacturers have to solve the problem. BMS Opening Br. 38–40, Novartis Opening Br. 34–36.

Because the Drug Price Negotiation Program lacks any plausible mechanism for avoiding duplica-

tion, and because CMS has disclaimed responsibility, manufacturers are left to devise a compliance

plan themselves.8

       Intervenors complain that it would be “premature” to examine the agency’s review of Plain-

tiffs’ rebate models in relation to the IRA because “CMS is still considering collecting more data

to address any non-duplication concerns.” Intervenors’ Br. 37. There is nothing “premature” about

Plaintiffs’ challenge. HRSA made its statutory-interpretation position clear in letters to Plaintiffs.

AR 292 (September 18, 2024 letter to Lilly); AR 342 (November 4, 2024 letter to BMS); AR 439

(January 14, 2025 letter to Novartis); AR 424–425 (December 13, 2024 letter to Sanofi). The

agency’s response to Plaintiffs’ proposed 340B models was consistent with its letters to other man-

ufacturers, too. See AR 66 (August 14, 2024 letter to J&J). As for Intervenors’ suggestion



No. 24-CV-2998 (RC) (D.D.C. filed Oct. 22, 2024); University of Kan. Hosp. Auth., No. 25-CV-
549 (RC) (D.D.C. filed Feb. 24, 2025).
8
  CMS, Medicare Drug Price Negotiation Program: Final Guidance, Implementation of Section
1191-1198 of the Social Security Act for Initial Price Applicability Year 2027 and Manufacturer
Effectuation of the Maximum Fair Price in 2026 and 2027 54–56 (Oct. 2, 2024) (CMS 2027 IRA
Guidance), https://tinyurl.com/2exf63s3.

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(at 36–37) that Plaintiffs could somehow continue to use the product-replenishment model to com-

ply with their IRA mandates, that requires data to be shared through HHS’s platform, and HHS has

pointedly declined to adopt that approach. See CMS 2027 IRA Guidance, supra n.8, at 230–232.

       In its letters, HRSA explicitly threatened the manufacturers with termination from the 340B

Program—rendering the manufacturers’ products ineligible for reimbursement by Medicaid and

Medicare Part B—and crushing civil monetary penalties if they did not yield to HRSA’s claimed

preapproval power. AR 214, 425; see Center for Auto Safety v. National Highway Traffic Safety

Admin., 452 F.3d 798, 807 (D.C. Cir. 2006). And if HRSA’s letters to manufacturers were not clear

enough, its website removes any doubt about its legal position: “[I]mplementing a rebate proposal

without Secretarial approval would violate Section 340B(a)(1) of the Public Health Service Act.”

HRSA, 340B Drug Pricing Program (last updated Jan. 2025), https://www.hrsa.gov/opa. HRSA

has “publicly articulate[d]” its “unequivocal position,” Ciba-Geigy Corp. v. EPA, 801 F.2d 430,

436 (D.C. Cir. 1986), and it expects manufacturers to “change their behavior,” Pharmaceutical

Rsch. & Mfrs. of Am. v. HHS, 138 F. Supp. 3d 31, 44 (D.D.C. 2015)—or else. Together, these

agency actions determine Plaintiffs’ “rights or obligations”—by purporting to eliminate Plaintiffs’

right to effectuate their 340B models—and “legal consequences”—in the form of civil monetary

penalties and termination from the 340B Program—“will flow” from the agency’s expressed posi-

tion. Bennett v. Spear, 520 U.S. 154, 177–178 (1997).

       Moreover, the IRA’s MFP deadline is imminent. This problem is not a theoretical one for

BMS and Novartis. HHS selected BMS’s drug ELIQUIS® and Novartis’s drug ENTRESTO® for

the Drug Price Negotiation Program and imposed an MFP on them beginning on January 1, 2026.

CMS, Medicare Drug Price Negotiation Program: Negotiated Prices for Initial Price Applicability

Year 2026, at 2 (Aug. 2024) (IPAY 2026 Results), https://www.cms.gov/files/document/fact-sheet-

negotiated-prices-initial-price-applicabilityyear2026.pdf; see AR 330. BMS and Novartis must

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therefore provide CMS with a written “plan for making the MFP available” for ELIQUIS and EN-

TRESTO, called an MFP effectuation plan, by September 1, 2025. CMS 2027 IRA Guidance,

supra n.8, at 285; AR 330.

       Because HRSA’s position thwarts Plaintiffs’ 340B models while CMS simultaneously re-

fuses to fulfill the IRA’s promise of “[n]onduplication with 340B ceiling price[s],” contra 42 U.S.C.

§§ 1320f(a)(2), 1320f-2(d), Plaintiffs have no other recourse but these lawsuits. See Barrick

Goldstrike Mines Inc. v. Browner, 215 F.3d 45, 49 (D.C. Cir. 2000) (finding claim ripe where chal-

lenger’s “only alternative to obtaining judicial review . . . [was] to violate [the agency’s] direc-

tives, . . . and then defend an enforcement proceeding on the [same] grounds”); see also Pharma-

ceutical Rsch. & Mfrs. of Am., 138 F. Supp. at 42 n.7 (concluding challenge is ripe where “the

Interpretive Rule presents a purely legal question of statutory interpretation” and “the rule also

poses a ‘hardship to the parties of withholding court consideration’ ”) (quoting National Park Hos-

pitality Ass’n v. Department of Interior, 538 U.S. 803, 808 (2003)).

       Far from being “premature,” Intervenors Br. 37, Plaintiffs’ lawsuits are both timely and

necessary in order to effectuate the IRA’s MFP-340B nonduplication entitlement. See CSI Aviation

Servs., Inc. v. Department of Transp., 637 F.3d 408, 412 (D.C. Cir. 2011) (concluding challenge

was not “premature” where the “DOT ha[d] issued a ‘definitive’ statement of the agency’s legal

position” in “[i]ts initial warning letter,” which “took the position that air charter brokers under

GSA contract require agency certification”).

       E.      HRSA Has No Solution For The Program-Integrity Problems Of The Current
               System And No Answer For The Benefits Of Plaintiffs’ Models.

       HRSA refused to consider the operational and program-integrity rationales supporting

Plaintiffs’ intended rebate models, their commonsense benefits, and their comparative advantages

over the product-replenishment model.



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       Intervenors acknowledge that “HRSA’s explanations” for its decision “were brief.” Inter-

venors’ Br. 41. And the threadbare explanation that HRSA provided here does not clear the APA’s

minimum standard of reasonableness. The agency never engaged with Plaintiffs’ arguments ex-

plaining how the cash-rebate model will reanimate core protections Congress built into the 340B

statute. E.g., AR 295, 298, 325–330. Nowhere, for example, did HRSA grapple with the practical

benefits of Plaintiffs’ models that address the worst shortcomings of the product-replenishment

model or identify any harms that could offset those benefits. E.g., AR 58–60, 274–275. The

agency’s mandate to engage in reasoned decisionmaking means it must not ignore Plaintiffs’ ex-

planation of the unlawful operation of the product-replenishment model that Plaintiffs have identi-

fied, or disregard Plaintiffs’ arguments that their intended rebate models would permit meaningful

oversight of both duplicate discounting and diversion of 340B medicines. An agency must “re-

spond meaningfully to the arguments raised before it.” New England Power Generators Ass’n, Inc.

v. FERC, 881 F.3d 202, 210 (D.C. Cir. 2018) (citation omitted). HRSA did not.

III.   HRSA’S REFUSAL TO APPROVE BMS’S AND NOVARTIS’S MODELS DENIES
       THEM DUE PROCESS OF LAW.

       Congress charged HHS’s Secretary to oversee both the 340B Program and the IRA’s Drug

Price Negotiation Program. 42 U.S.C. §§ 256b(a)(1), 1320f(a). In the 340B Program, the Secretary

is supposed to help “prevent . . . violations of the duplicate discount provision and other [compli-

ance] requirements.” Id. § 256b(d)(2)(A). In the IRA’s Drug Price Negotiation Program, the Sec-

retary should act “in accordance with section 1320f-2,” id. § 1320f(a)(2), which contains the re-

quirement of “nonduplication with [the] 340B ceiling price,” id. § 1320f-2(d) (capitalization al-

tered). When the Secretary nevertheless facilitates improper 340B pricing, manufacturers lose rev-

enue in ways forbidden by Congress. That is the problem at the heart of BMS’s and Novartis’s




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due-process claims: Unlawful duplication and other improper 340B claims are erroneous depriva-

tions of BMS’s and Novartis’s property, and by adopting contradictory positions and frustrating

manufacturers’ efforts to correct the 340B Program’s rampant abuses, HHS has guaranteed that

these deprivations will not just continue, but accelerate.

       Intervenors first try to brush off these claims as a mere “refashion[ing]” of Plaintiffs’ APA

claims. Intervenors’ Br. 42. That framing is mistaken. True, the Court need not address BMS’s

and Novartis’s due-process claims if it rules in their favor on the APA claims. See, e.g., Window

Covering Mfrs. Ass’n v. Consumer Prod. Safety Comm’n, 82 F.4th 1273, 1293 (D.C. Cir. 2023)

(declining to address a constitutional claim after concluding that an agency rule must be vacated).

But that does not make the claims identical. BMS’s and Novartis’s due-process claims go beyond

any one narrow action or policy, focusing instead on the aggregate effect of the way HHS has

discharged its oversight. In other words, these claims foreclose any attempt by HHS to deflect

blame among its component agencies, creating a shapeshifting and effectively unchallengeable pol-

icy. See No. 24-CV-3337, ECF No. 1 ¶ 107 (challenging “HHS’s siloed administration of the

DPNP and the 340B Program”); No. 25-CV-117, ECF No. 1 ¶ 135 (challenging HHS’s use of two

subcomponents to impose “irreconcilable . . . demands that Novartis cannot simultaneously meet”).

At bottom, HHS may not deprive BMS and Novartis of property without due process regardless of

the means it uses to do so.

       A.      HHS’s Position Is Irrational And Gravely Unfair.

       HHS is speaking out of both sides of its mouth through different subcomponents. To avoid

unlawful IRA-340B duplication, CMS “strongly encourages manufacturers to work with dispens-

ing entities, covered entities and their 340B TPAs” by “utilizing data available from covered entities

and their 340B TPAs.” CMS 2027 IRA Guidance, supra n.8, at 232. That is what BMS’s and

Novartis’s models are designed to do: utilize claims data already collected by virtual-inventory


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systems and TPAs, University of Wash. Med. Ctr. v. Kennedy, No. 24-CV-2998 (RC) (D.D.C. Dec.

20, 2024), ECF No. 22-1 (Testoni Decl.) ¶¶ 6–7, so that providers can receive the right price at the

right time. AR 274–275, 318–320, 433–435. By preventing implementation of those models,

HRSA has forbidden BMS and Novartis to effectuate CMS’s instructions. See AR 292, 342, 439.9

The result is two mutually incompatible directives, both from HHS—which will force manufactur-

ers to offer price concessions forbidden by Congress. That is “legally irrational in that it is not

sufficiently keyed to any legitimate state interests.” Committee of U.S. Citizens Living in Nicar. v.

Reagan, 859 F.2d 929, 943–944 (D.C. Cir. 1988) (quotation omitted and alteration adopted), abro-

gation on other grounds recognized, Schieber v. United States, 77 F.4th 806 (D.C. Cir. 2023).

       Intervenors claim that BMS and Novartis “lack standing” and that their due-process claims

are “not yet ripe.” Intervenors’ Br. 43. Apart from gesturing at general justiciability principles,

Intervenors cite National Mining Association v. Fowler, 324 F.3d 752, 757–758 (D.C. Cir. 2003),

where the court found that a challenge was ripe because it was already clear how the defendant had

interpreted the regulation at issue. Intervenors’ Br. 43–44. The same is true here: HRSA has

interpreted the 340B statute to contain an agency preapproval requirement and forbidden BMS and

Novartis to implement their models. AR 292, 342, 439. In addition, the financial harms associated

with Novartis’s due-process claims arising from MDRP-340B duplication are already occurring.

Novartis Opening Br. 43–45. And the financial harms associated with BMS’s and Novartis’s due-



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  Intervenors suggest that manufacturers could instead use a discount model to effectuate IRA
prices. Intervenors’ Br. 36–37. But this would make manufacturers’ plight worse because they
would have no time, instead of 14 days, to come up with evidence that an MFP would duplicate a
lower 340B ceiling price. For support, Intervenors cite their own comment letter to CMS, in which
they requested that CMS mandate a discount model and route all covered-entity claims data to the
Medicare Transaction Facilitator (MTF), rather than to manufacturers. Letter from 340B Health to
Dr. Meena Seshamani, M.D., Ph.D., CMS at 5 (July 2, 2024), https://tinyurl.com/5buvbvbm. CMS
pointedly rejected these suggestions, adopting a rebate model and encouraging manufacturers to
get claims data without involving the MTF. CMS 2027 IRA Guidance, supra n.8, at 196, 232.

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process claims arising from MFP-340B duplication will begin occurring on a certain date in the

near future—January 1, 2026. IPAY 2026 Results, supra p.27, at 1. Even if there were any uncer-

tainty about whether HHS will change its mind and allow Plaintiffs to solve these problems, all that

is needed for standing is a “ ‘substantial risk’ of future injury.” Attias v. Carefirst, Inc., 865 F.3d

620, 627 (D.C. Cir. 2017) (citation omitted). That standard is easily met here, given the inevitability

of harm on a definite timeline.

       HHS has had years to address rebate models, and nearly eight months to consider this pre-

cise problem. AR 59, 499. There is no more time. BMS and Novartis must submit plans for

effectuating MFPs by September 1, and they need substantial experience working with those mod-

els to inform those plans. CMS 2027 IRA Guidance, supra n.8, at 285; No. 24-CV-3337, ECF

No. 12 ¶ 19; No. 25-CV-117, ECF No. 12-2 ¶ 30. HHS’s irrational policy therefore has immediate

consequences for BMS and Novartis: It is already hampering their ability to combat unlawful du-

plication once IRA price caps become effective in January.

       To the extent Intervenors deny that unlawful MFP-340B duplication will occur under the

status quo, they are mistaken. CMS’s current guidance does not claim that current processes are

sufficient to avoid MFP-340B duplication; CMS simply declined to “assume responsibility” for

ensuring this. CMS 2027 IRA Guidance, supra n.8, at 230. Just this month, a former CMS official

acknowledged that the agency’s current processes “could lead to a rebate on a 340B claim in Med-

icaid, and potentially an MFP, being paid on a 340B claim.” Kelly, supra p.15. The sticking

point—as always under the product-replenishment model—is a lack of access to even basic claims

data that would allow 340B-eligible transactions to be timely identified so that duplication can be

avoided or corrected. See id.

       Intervenors also lean on the legal standard, pointing out that HHS’s decisions need only

refrain from being “irrational.” Intervenors’ Br. 42. But HHS’s conduct here fails to clear even

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that lowest of bars. HHS talks in circles, telling manufacturers it has already addressed their con-

cerns by “encouraging” them to act in ways it has simultaneously forbidden. The bottom line is

that HHS will neither help manufacturers avoid unlawful duplication nor allow manufacturers to

help themselves. BMS and Novartis thus face an impossible choice: Comply with HRSA’s de-

mands, knowing the result will be huge financial losses due to unlawful MFP-340B duplication.

Or pursue CMS’s recommendation, getting necessary basic claims data by requiring covered enti-

ties to provide it before receiving 340B pricing for a unit—that is, a cash-rebate model—but only

while risking civil monetary penalties and even termination from Medicaid and Medicare Part B.

AR 203, 214, 424–425. That “grave[ly] unfair[ ]” bind amounts to “a deliberate flouting of the law

that trammels significant . . . property rights.” Silverman v. Barry, 845 F.2d 1072, 1080 (D.C. Cir.

1988).

         B.     Novartis Has No Meaningful Opportunity To Be Heard Regarding
                Improper 340B Pricing.

         Novartis’s procedural-due-process claim is based on the lack of process afforded to Novartis

to address individual instances of improper 340B pricing. Novartis Opening Br. 40–41. Novartis

is erroneously deprived of those property interests when it is forced to offer price concessions for-

bidden by law, such as 340B pricing on ineligible transactions and MFP-340B and MDRP-340B

duplication. The Due Process Clause obliges HHS to institute “appropriate procedural safeguards”

to ensure Novartis has a meaningful way to prevent such pricing errors, or at least to correct them

after the fact. Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541 (1985).

         What’s needed is a mechanism for informing HRSA that covered entities have received

340B pricing they were not entitled to, and a robust way of holding such entities accountable. By

invigorating existing procedures, Novartis’s cash-rebate model would do just that. So contrary to

Intervenors’ suggestion, Intervenors’ Br. 44, Novartis is asking for more process.



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       It is no answer to point to the “various statutory safeguards and processes that permit man-

ufacturers to seek recourse.” Intervenors’ Br. 44. HHS must provide processes not just in the

abstract, but ones that work in the real world and are effective enough to avoid errors. See, e.g.,

Propert v. District of Columbia, 948 F.2d 1327, 1333–34 (D.C. Cir. 1991); Thompson v. District

of Columbia, 832 F.3d 339, 345–346 (D.C. Cir. 2016); Da’Vage v. D.C. Hous. Auth., 583 F. Supp.

3d 226, 238 (D.D.C. 2022). Novartis does not have that.

       Take audits, for example. As Plaintiffs have repeatedly emphasized, access to audits de-

pends on manufacturers’ ability to first get “sufficient facts and evidence in support” of a claim that

a covered entity has misused the 340B Program. 61 Fed. Reg. at 65,410. Intervenors insist this

requirement can be surmounted, Intervenors’ Br. 15 n.29, but they provide no support for that prop-

osition. Nor do they account for covered entities’ persistent efforts to avoid compliance with audits

even in the rare instances where HRSA authorizes them. Supra p.25 & n.7.

       The additional process Novartis is proposing is, at bottom, to grant manufacturers access to

basic claims data they should have had all along. See AR 435. Access to that data would strengthen

the processes Intervenors themselves identify, including audits and the 340B credit-debit ledger

system. No. 25-CV-117, ECF No. 12-2 ¶ 28. But more importantly, Novartis would have less of

a need to use those remedial processes in the first place because it would have enough information

“to stop MDRP-340B duplication before it happens” and to “make available (or not, as appropriate)

IRA MFPs correctly.” Id. Providers would receive the right prices at the right times. In other

words, Novartis is asking for pre-deprivation procedures that actually work.

       Finally, Novartis’s cash-rebate model is based on requiring standard claims data that cov-

ered entities already “collect, report, and maintain in the normal course of business.” AR 435. The

model therefore will not impose onerous requirements on covered entities while enhancing program

integrity, leaving HHS with no “interest in avoiding [the] additional procedural safeguards.” See

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Simms v. District of Columbia, 872 F. Supp. 2d 90, 103 (D.D.C. 2012). Intervenors’ supposed

survey reporting fears of additional costs—in addition to being outside the record and unrelated to

the stated rationale for HRSA’s decisions—is apparently based only on hospitals’ self-interested

speculation. 340B Health, Preliminary Results of 340B Health Survey: Impact of Rebates on 340B

Hospitals (Mar. 18, 2025), https://tinyurl.com/mpncmmbh (discussing self-reported “antici-

pat[ions],” “expect[ations],” and “concern[s]”). For its part, HRSA has previously (and correctly)

treated the provision of “detailed and accurate . . . initial claim data” as a ”standard business prac-

tice[ ]” that benefits all stakeholders, including covered entities. 63 Fed. Reg. at 35,241–42. That

is true here as well, and it shows that the additional guardrails Novartis is proposing are required

given “the magnitude of the private interest at stake.” Esparraguera v. Department of the Army,

101 F.4th 28, 40 (D.C. Cir. 2024).

IV.    VACATUR OF THE AGENCY’S UNLAWFUL ACTIONS IS THE NORMAL—
       AND PROPER—REMEDY.

       When an agency’s actions are unlawful, “vacatur is the normal remedy.” Allina Health

Servs. v. Sebelius, 746 F.3d 1102, 1110 (D.C. Cir. 2014). In deciding whether to depart from it,

courts consider the “seriousness of the order’s deficiencies” and the potentially “disruptive conse-

quences” of vacatur, Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150–151

(D.C. Cir. 1993) (citation omitted).

       Intervenors (at 41) offer no compelling reason for the Court to depart from the normal

course. First, as Plaintiffs have explained, HHS’s actions are wrong many times over. The agency

relied on its purported power to preapprove methods of effectuating 340B pricing. AR 292, 342,

380, 439. But HRSA does not have that power and has never before attempted to enforce its sup-

posed preapproval requirement. Plaintiffs’ Br. in Opp. to Defs.’ Cross-Mot. for Summary Judg-

ment and Reply in Support of Summary Judgment 3–8. And HHS cannot on remand justify an



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action premised on a statutory power that it simply does not have. Intervenors do not contend

otherwise.

       Even if HRSA had preapproval power, its actions here were still woefully deficient. HRSA

already blessed a cash-rebate model for ADAPs, so the agency may not now block the implemen-

tation of other cash-rebate and replenishment models without irrationally treating like cases differ-

ently. And because the product-replenishment model and Plaintiffs’ 340B models are legally

equivalent, HRSA may not elevate one over the other. Further, HRSA’s actions force Plaintiffs to

provide 340B pricing where none is owed, perpetuating unlawful diversion and duplicate discount-

ing. HRSA’s position also denies BMS and Novartis the only feasible means of preventing MFP-

340B duplication. And finally, HRSA’s decision fails to consider an important aspect of the prob-

lem—namely, the compelling operational and program-integrity reasons for adopting the rebate

model. See supra pp. 19–29. In short, the “deficiencies” of the agency’s actions here are numerous

and “serious[ ],” Allied-Signal, 988 F.2d at 150, and there is not “ ‘a significant possibility that the

[agency] may find an adequate explanation for its actions’ on remand.” Standing Rock Sioux Tribe

v. United States Army Corps of Eng’rs, 985 F.3d 1032, 1051 (D.C. Cir. 2021) (citation omitted).

       Second, Intervenors mischaracterize and catastrophize the consequences of vacatur. They

maintain that the status quo has been 30-plus uninterrupted years of “effectuating the 340B price

through discounts.” Intervenors’ Br. 42. As Plaintiffs have explained, that’s simply not true. See

supra pp. 7–9. Plaintiffs’ models are narrowly focused on detecting and stopping practices the

340B statute expressly prohibits—and will not even deny 340B rebates in response to evidence of

duplicate discounting. So, “[t]his is not a case in which the ‘egg has been scrambled,’ and it is too

late to reverse course.” Allina Health, 746 F.3d at 1110–11 (quoting Sugar Cane Growers Coop.

of Fla. v. Veneman, 289 F.3d 89, 97 (D.C. Cir. 2002)).




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                                        CONCLUSION

       For the foregoing reasons, and those in Plaintiffs’ opening briefs, Plaintiffs’ motions for

summary judgment should be granted, and Intervenors’ cross-motion for summary judgment should

be denied.

Dated: April 1, 2025                            Respectfully submitted,


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